Case 3:17-cv-00524-GNS-CHL Document 32 Filed 04/12/18 Page 1 of 2 PageID #: 144




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF KENTUCKY
                                   (AT LOUISVILLE)


 JAMES W. HOOVER, JR.,                         )
                                               )
        Plaintiff,                             )
                                               )
               vs.                             )      CASE NO. 3:17-cv-00524-GNS
                                               )
 WEBBANK, INC., et al.,                        )
                                               )
 Defendants.


                      AGREED NOTICE OF VOLUNTARY DISMISSAL

        Comes the Plaintiff, James W. Hoover, and the Defendant, Experian Information Solutions,

 Inc., and pursuant to Fed. R. Civ. Proc. 41(a)(1)(A)(i) hereby dismisses with prejudice all of their

 claims against Defendant, Experian Information Solutions, Inc. with prejudice. Plaintiff and

 Experian Information Solutions, Inc. each bear their own costs and attorneys’ fees.

                                                      SEEN AND AGREED TO BY:

                                                      /s/David W. Hemminger
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                                                      /s/ Joseph Z. Czerwien (with permission)
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Case 3:17-cv-00524-GNS-CHL Document 32 Filed 04/12/18 Page 2 of 2 PageID #: 145




                                   CERTIFICATE OF SERVICE

         I hereby certify that on the 12th day of April, 2018, I electronically filed the foregoing with
 the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing
 to all parties of record.

                                                        /s/David W. Hemminger
                                                        David W. Hemminger
